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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-CR-14044-CANNON/MAYNARD

  UNITED STATES OF AMERICA

  v.

  JUAN ANTONIO GARCIA,

              Defendant.
  _______________________________/

                     GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby files this sentencing memorandum recommending that this Court sentence the

  defendant, Juan Antonio Garcia, to a sentence at the high-end of the guideline range as calculated

  in the Presentence Investigation Report (DE43). In support thereof, the United States submits as

  follows:

          I.     Procedural History

          On December 9, 2021, a federal grand jury in the Southern District of Florida returned a

  two-count indictment charging the defendant with attempted production of child pornography, in

  violation of 18 U.S.C. § 2251(a) and (e), and attempted enticement of a minor to engage in sexual

  activity, in violation of 18 U.S.C. § 2422(b) (DE13). The defendant pled guilty to both counts as

  charged in the Indictment on April 4, 2022. A sentencing hearing has been scheduled for July 11,

  2022.

          II.    Factual Background

          The defendant, a 30-year-old law enforcement officer with the Sewall’s Point Police

  Department, was a family friend of the victim, a 15-year-old boy (hereinafter “the victim”). The
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  two had met several years prior to the offense conduct when the victim was in the Cub Scouts with

  the defendant’s nephew. As the families lived in close proximity to each other, the defendant and

  the victim became friendly over the years. The defendant’s family also operates a food truck in

  Martin County. In June 2021, the victim began working part-time for the defendant in the food

  truck. Some time later, the victim’s father noticed that the victim had stopped going to work for

  the defendant. In an attempt to determine why, the victim’s father reviewed his son’s text messages

  and discovered sexually explicit messages from the defendant.

         The text message conversation between the defendant and the victim began in

  approximately June 2021 and the defendant soon began steering the conversation toward sexual

  topics, making numerous and random references to the victim masturbating and encouraging the

  victim to discuss his sexual history. The defendant also repeatedly requested that the victim

  accompany him to Blind Creek Beach, a well-known nudist beach in the area, and told the victim

  that he would “get the camera,” indicating his desire to photograph the victim nude. Upon learning

  that the victim had a girlfriend, the defendant pressed him for explicit details about his sexual

  experiences and offered to provide the victim with condoms. The defendant then encouraged the

  victim to masturbate with a condom on to make sure it fit correctly and told the victim, “I would

  have to actually see it [meaning the condom on the victim’s penis] to say if it’s too big for you.”

  After confirming that the victim had, in fact, masturbated as instructed, the defendant asked the

  victim to send him a photograph of the used condom as proof. The victim declined to send any

  photographs, so the defendant suggested that they meet up at the victim’s house at a time when his

  parents would be away, under the guise of having the victim try on different styles of condoms in

  front of him.




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         After discovering this conversation on his son’s cell phone, the victim’s father contacted

  law enforcement and gave a detective from the Martin County Sheriff’s Office (hereinafter “the

  UC”) permission to assume his son’s online identity in an undercover capacity. The UC took over

  the victim’s persona on November 22, 2021, and continued communicating with the defendant.

  That evening, believing he was communicating with the victim, the defendant instructed the UC

  to record a video of himself masturbating and to send it to him.

         Later during that same conversation, in the evening of November 22 and early morning

  hours of November 23, the defendant asked the victim if he had ever considered performing oral

  sex on a male. The UC responded that he was open to the idea, and the defendant responded,

  “That’s cool, I could use one.” The defendant then asked the victim several times if the victim was

  offering to perform oral sex on him. The defendant resisted the UC’s attempts to steer the

  conversation to nonsexual topics and continued to press the victim about exploring his sexuality

  and experimenting with someone the victim could trust, like the defendant.

         Later in the day on November 23, the defendant messaged the victim to arrange to meet up

  to “experiment” with each other sexually. The UC indicated that he was busy that day, but the

  defendant was insistent that the meeting happen that day. When the UC asked for clarification of

  what the defendant wanted to do when they met, the defendant stated, “You know I could use a bj

  [oral sex] but [I’ll] be good with hj [manual stimulation of his penis] if that’s all you feel like

  doing.” The defendant then instructed the victim to meet him at a local park in 30 minutes.

         Law enforcement arrested the defendant when he arrived at the designated meeting

  location. In a post-Miranda interview with law enforcement, the defendant acknowledged having

  the text message conversations with the victim, whom he knew to be 15 years old. The defendant

  further admitted that at the time he was asking the victim to produce a video of himself



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  masturbating on November 22, he was on duty in his Sewall’s Point Police Department vehicle.

  He blamed his actions on not having had sex in some time and being “horny.”

         III.    Guideline Calculations in the Presentence Investigation Report

         On June 6, 2022, the U.S. Probation Office issued its Final Presentence Investigation

  Report (PSI; DE44). The PSI determined that the applicable guideline range for the underlying

  offenses is 292 to 365 months’ imprisonment and a period of supervised release of five years to

  life (PSI ¶¶ 71, 75). The government has no objection to the guideline calculations in the PSI.

         IV.     Sentencing Recommendation

         To calculate a reasonable and appropriate sentence, the Court “must first calculate the

  Guidelines range, and then consider what sentence is appropriate for the individual defendant in

  light of the statutory sentencing factors, 18 U.S.C. § 3553(a), explaining any variance from the

  former with reference to the later.” Nelson v. United States, 129 S. Ct. 890, 891-92 (2009).

  Although the Court may not presume that a guideline-range sentence is reasonable, the guidelines

  remain a significant and pivotal component of the sentencing process. United States v. Delva, 922

  F.3d 1228, 1257 (11th Cir. 2019); United States v. Hunt, 526 F.3d 739, 746 (11th Cir. 2008)

  (“[W]hile we do not presume that a sentence falling within the guidelines range is reasonable, we

  ordinarily expect it to be so.”). Section 3553(a)(1) provides that, in determining a sentence, courts

  must consider the nature and circumstances of the offense, as well as the history and characteristics

  of the defendant. Informed by these considerations, the court must further contemplate the need

  for the sentence to reflect the seriousness of the offense; to promote respect for the law; to provide

  just punishment for the offense; to afford adequate deterrence to criminal conduct; to protect the

  public from further crimes of the defendant; and to provide the defendant with needed educational

  or vocational training, medical care, or other corrective treatment in the most effective manner.



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  See 18 U.S.C. § 3553(a)(2). Consideration of the § 3553(a) factors necessitates a sentence at the

  high-end of the guideline range.

         A.      Nature and Circumstances of the Offenses

         The defendant’s insidious offense conduct in this case is extremely concerning. The

  defendant took advantage of an existing familiar and supervisory relationship to attempt to

  sexually abuse and exploit a 15-year-old boy for his own sexual gratification. This was not a one-

  time lapse in judgment. Over the course of five years, the defendant cultivated a friendship with

  his victim and earned the trust of the victim’s family to such an extent that the boy’s father trusted

  the defendant to be alone with his son socially and to supervise his son while at work in the

  defendant’s food truck. Instead of taking this opportunity to mentor the boy through a

  developmentally difficult period of his life, the defendant targeted him for sexual predation. The

  defendant exploited his existing relationship to goad the victim into sharing deeply personal details

  about his blossoming sexual development, which the defendant then manipulated into requests for

  sexually explicit images. Under the guise of a concerned confidant providing education on safe

  sex practices, the defendant tried to trick the victim into producing and sending images of his penis

  and videos of himself masturbating.

         When it became clear that the victim would not be producing any child pornography for

  the defendant, the defendant switched tactics and focused on pursuing an in-person sexual

  encounter with the victim. The defendant first attempted to get the victim to meet with him alone

  to “try on” condoms, a sexually charged scenario that the defendant obviously hoped would evolve

  into physical sexual contact, at a time when his parents were not around to protect him. After

  engaging in sexual conversation with the victim for months and once the defendant felt the victim

  was primed to accept his advances, the defendant then proposed the idea of the victim exploring



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  his sexuality by performing oral sex on a trusted male friend, such as the defendant himself. As

  soon as the victim—at this point the undercover detective—indicated an openness to the

  defendant’s solicitation, the defendant became insistent upon meeting up as soon as possible,

  before the victim could change his mind. The defendant’s lengthy pursuit of the victim and his

  eagerness to sexually abuse an adolescent boy without hesitation demand a significant prison

  sentence.

         B.      History and Characteristics of the Defendant

         Perhaps what makes the defendant’s conduct most egregious is that he committed these

  acts while actively on duty as a Sewall’s Point police officer. Instead of protecting the community,

  the defendant chose to spend his overnight shifts relentlessly pursuing sexually explicit images

  and, eventually, a sexual encounter with a minor. In doing so, the defendant violated not only the

  victim’s trust, but the public’s as well. As a law enforcement officer, the defendant should be held

  to a higher standard of conduct and should be punished severely for his despicable crimes against

  the most vulnerable segment of the community he swore to protect and serve.

         Further, nothing in the defendant’s history warrants a downward departure from the

  guideline range. As reflected in the PSI, the defendant had a stable, supportive home life growing

  up and continues to enjoy familial support even after his arrest (PSI ¶¶ 42-47). He reported no

  mental, emotional, or substance abuse concerns (PSI ¶¶ 52-53). Prior to resigning from the

  Sewall’s Point Police Department while under investigation for violation of moral character

  standards, the defendant was gainfully and stably employed (PSI ¶ 60). In fact, the defendant’s

  monstrous criminal conduct is all the more shocking in light of his positive upbringing and

  promising career in public service. Therefore, there is nothing in the defendant’s history or

  characteristics that would justify anything less than a guidelines sentence.



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         C.      Need to Protect the Public, Reflect the Seriousness of the Crime, Promote
                 Respect for the Law, and to Provide Just Punishment

         “Retribution is a valid penological goal.” Glossip v. Gross, 135 S. Ct. 2726, 2769 (2015)

  (Scalia, J. concurring). The Eleventh Circuit has recognized that “the greater the harm the more

  serious the crime, and the longer the sentence should be for the punishment to fit the crime.” United

  States v. Irey, 612 F.3d 1160, 1206 (11th Cir. 2010), cert. denied, 131 S. Ct. 1813 (2011).

  Punishment is the way in which society expresses denunciation of wrongdoing, and it is thus

  essential that this Court promote and maintain respect for the law by pronouncing sentences that

  fully reflect society’s revulsion. See Gregg v. Georgia, 428 U.S. 153, 184 n.30 (1976) (citing Royal

  Commission on Capital Punishment, Minutes of Evidence, Dec. 1, 1949, p. 207 (1950)). Because

  they are “among the most egregious and despicable” offenses, child sex crimes demand lengthy

  prison sentences for offenders. United States v. Sarras, 575 F.3d 1191, 1220 (11th Cir. 2009).

         Deterrence is also particularly important for crimes involving the sexual exploitation of

  children, given the “high rate of recidivism among convicted sex offenders and their

  dangerousness as a class. . . .” Smith v. Doe, 538 U.S. 84, 103 (2003); see also United States v.

  Goldberg, 491 F.3d 668 (7th Cir. 2007) (“Sentences influence behavior, or so at least Congress

  though when in 18 U.S.C. § 3553(a) it made deterrence a statutory sentencing factor.”). As the

  Eleventh Circuit has long recognized, research in this field is “consistent with what judicial

  decisions show: pedophiles who have sexually abused children are a threat to continue doing so,

  and age does not remove the threat.” Irey, 612 F.3d at 1214; see also United States v. Pugh, 515

  F.3d 1179, 1201 (11th Cir. 2008) (“[S]ex offenders have appalling rates of recidivism and their

  crimes are under-reported.”).

         The defendant’s months-long sexual fixation on his 15-year-old victim and insidious

  grooming of the boy suggest that he is an acute danger to the community for which significant

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  punishment and deterrence is warranted. The defendant used his relationship with the victim and

  his standing in the community to effectively hide in plain sight. Further, the defendant’s

  involvement in his nephew’s Cub Scouts activities and his assumption of supervisory

  responsibility over the victim indicate that the defendant actively sought out opportunities to be in

  a position of trust around young boys, which he could later exploit for his own sexual gratification.

         The defendant’s tendencies and pattern of conduct make him a dangerous predator in the

  community he claimed to serve. The Court’s sentence must express an appropriate level of social

  condemnation of the defendant’s crimes. A sentence at the high-end of the guidelines will not only

  protect children in the community for a considerable period of time, but will also promote respect

  for the law and deterring future offending by the defendant and others sharing his prurient interests

  by signaling that such behavior is abhorrent and will be punished harshly.

                                           CONCLUSION

         Therefore, the United States respectfully requests that the Court sentence the defendant to

  a term of 365 months, the high-end of the guideline range as properly calculated by U.S. Probation.

                                                        Respectfully submitted,

                                                        JUAN ANTONIO GONZALEZ
                                                        UNITED STATES ATTORNEY


                                                   By: /s/ Stacey Bergstrom
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 8, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on counsel of record via Notice of Electronic Filing generated by CM/ECF.



                                           /s/ Stacey Bergstrom
                                           STACEY BERGSTROM
                                           ASSISTANT UNITED STATES ATTORNEY




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